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 8                        IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE SOUTHERN DISTRICT OF CALIFORNIA
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11   Michael A. Hartsell,                         )   No. 16cv1094-LAB-JMA
                                                  )
12         Plaintiff,                             )
                                                  )   ORDER GRANTING JOINT
13         v.                                     )   APPLICATION TO EXTEND
                                                  )   EXPERT DISCLOSURES AND PRE-
14   County of San Diego; San Diego County        )   TRIAL MOTION DEADLINE
                                                  )   [DOC. NO. 37]
15   Deputy Sheriff Trenton Stroh; Does 1-15      )
                                                  )
16         Defendants.                            )   Judge: Hon. Jan M. Adler
                                                      Trial: None Set
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19
           Having considered the parties’ joint motion to Extend Expert Disclosures And Pre-
20
     Trial Motion Deadline, and finding good cause in support thereof:
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           IT IS HEREBY ORDERED THAT the Court’s amended scheduling order is
22
     amended as follows:
23
           Expert Disclosures (FRCP 26(a)(2)(A), (B)) continued to May 18, 2018.
24
           Supplemental/Rebuttal Disclosures (FRCP 26(a)(2)(A), (B))
25
     continued to June 8, 2018.
26
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     //
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     Case 3:16-cv-01094-LAB-JMA Document 38 Filed 05/03/18 PageID.102 Page 2 of 2



 1         Expert Discovery Deadline continued to June 15, 2018.
 2         Pretrial Motion Deadline continued to July 13, 2018.
 3         IT IS SO ORDERED.
 4
 5   DATED:      May 3, 2018                    ___________________________
 6                                              Hon. Jan M. Adler
                                                United States Magistrate Judge
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